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                EXHIBIT A
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                        UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                  SECTOR POLICIES AND PROGRAMS DIVISION
                              OFFICE OF AIR QUALITY PLANNING AND STANDARDS
                                        OFFICE OF AIR AND RADIATION




 MEMORANDUM

 SUBJECT:           OAQPS Budget and Staffing Information

 FROM:              Allison Mayer
                    OAQPS/SPPD/FIG (E143-03)

 TO:                Coal Mines Docket (EPA-HQ-OAR-2013-0358)

 DATE:              April 30, 2013



         Below is a table showing OAQPS’s budget history, extramural funds, and staffing levels
 from fiscal years 2006-2013.

                                       OAQPS Budget and Staffing Levels

                                 OAQPS Budget1            OAQPS Extramural
          Fiscal Year                                                                       FTE3
                                   (Millions)              Funds1 (Millions)
             2006                    $77.2                      $37.2                     348.4
             2007                    $76.7                      $35.2                     340.4
             2008                    $73.1                      $29.9                     340.4
             2009                    $73.4                      $28.1                     340.4
             2010                    $75.1                      $28.9                     339.4
             2011                    $79.9                      $25.7                     355.9
             2012                    $74.3                      $22.6                     345.7
             2013                   $68.02                     $21.22                     345.74
 Notes:
 1
     This information was obtained from Compass financial database unless otherwise noted
 2
     This estimate came from the March 7, 2013 Office of Budget Sequestration Planning Exercise
 3
   This information was obtained from the internal EPA FTE allocation spreadsheet distributed to offices
 in EPA’s Office of Air and Radiation
 4
     Expected FTE, subject to change
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                  UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                   SECTOR POLICIES AND PROGRAMS DIVISION
                               OFFICE OF AIR QUALITY PLANNING AND STANDARDS
                                         OFFICE OF AIR AND RADIATION




MEMORANDUM

SUBJECT:      OAQPS Workload

FROM:         Allison Mayer
              OAQPS/SPPD/FIG (E143-03)

TO:           Coal Mines Docket (EPA-HQ-OAR-2013-0358)

DATE:         April 30, 2013



       Attached is information regarding OAQPS’s workload, court-ordered rules, petitions for
reconsideration, and matters subject to litigation between May 2013 and September 2014.
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                                       OAQPS Rules
                                  May 2013-End of FY 2014
Court-ordered Rules
   1. Landfills NSPS
  2. Kraft Pulp Mills NSPS NPRM
  3. Flexible Polyurethane Foam Production RTR NPRM
   4. Phosphoric Acid RTR NPRM
   5. Phosphate Fertilizers Production RTR NPRM
   6. Ferroalloys RTR Final
   7. Acrylic and Modacrylic Fibers Production RTR NPRM
   8. Polycarbonate Production RTR NPRM
   9. Amino/Phenolic Resins RTR NPRM
   10. Off-Site Waste and Recovery Operations RTR NPRM
   11. Mineral Wool RTR Final
   12. Wool Fiberglass RTR Final
   13. Pesticide Active Ingredients RTR Final
   14. Polyether Polyols Production RTR Final
   15. Group IV Polymers and Resins RTR Final
   16. Brick and Structural Clay Products NESHAP NPRM
   17. Clay Ceramics NESHAP NPRM
   18. Kraft Pulp Mills NSPS Final
   19. Primary Aluminum Reduction Plants RTR Final
   20. Secondary Aluminum Production RTR Final
   21. Aerospace RTR NPRM
   22. Flexible Polyurethane Foam Production RTR Final
   23. Phosphoric Acid RTR Final
   24. Phosphate Fertilizers Production RTR Final
   25. Acrylic and Modacrylic Fibers Production RTR Final
   26. Polycarbonate Production RTR Final
   27. Amino/Phenolic Resins RTR Final
   28. Off-Site Waste and Recovery Operations RTR Final

Other planned Rules
   29. Grain Elevators NSPS NPRM
   30. NESHAP MACT for Petroleum Refineries Heat Exchangers Final
   31. Primary Lead RTR Reconsideration NPRM
   32. Secondary Lead RTR Reconsideration NPRM
   33. Secondary Lead RTR Direct Final/Parallel Proposal
   34. Residential Wood Heater NSPS NPRM
   35. Polyvinyl Chloride MACT Reconsideration NPRM
   36. NSPS Electronic Reporting Rule NPRM
   37. Primary Lead RTR Reconsideration Final

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   38. Secondary Lead RTR Reconsideration Final
   39. Petroleum Refinery Flares NESHAP NPRM Amendment
   40. Electric Generating Units GHG NSPS Final
   41. Oil & Gas NSPS Reconsideration NPRM
   42. NSPS Proposed Section 111(b)(1)(B) Determinations
   43. SSM Part 63 Amendments NPRM
   44. Sewage Sludge Incineration Federal Plan NPRM
   45. Oil & Gas NSPS Reconsideration Final
   46. Stationary Combustion Turbines NSPS Reconsideration Final
   47. Grain Elevators NSPS Final
   48. Large Municipal Waste Combustors NSPS NPRM
   49. Small Municipal Waste Combustors NSPS NPRM
   50. Oil & Gas NESHAP Reconsideration NPRM


Petitions for Reconsideration and/or Subject to Litigation

   1. Oil & Gas NESHAP and NSPS
   2. Petroleum Refineries NSPS Subpart Ja
   3. Petroleum Refineries MACT 1 & 2
   4. Pulp & Paper RTR
   5. Primary Lead RTR
   6. Secondary Lead RTR
   7. Polyvinyl Chloride MACT
   8. Mercury and Air Toxics Standards NSPS and NESHAP
   9. Reciprocating Internal Combustion Engines NSPS and NESHAP
   10. Boilers Major Sources NESHAP
   11. Boilers Area Sources NESHAP
   12. Commercial and Industrial Solid Waste Incinerators NSPS and Emission Guidelines
   13. Portland Cement NESHAP
   14. Sewage Sludge Incinerators NSPS and Emission Guidelines
   15. Coal Preparation and Processing Plants NSPS
   16. Steel Pickling RTR
   17. Chromium Electroplating RTR
   18. Nitric Acid NSPS




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